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 7
 8                    IN THE UNITED STATES DISTRICT COURT

 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     ) No. 2:03-cr-00371-MCE
                                   )
12                    Plaintiff,   )
                                   ) STIPULATION AND ORDER
13                 v.              ) TO CONTINUE STATUS CONFERENCE/
                                   ) ENTRY OF PLEA
14   ERIC NEWBORN,                 )
                                   ) DATE: September 4, 2008
15                    Defendant.   ) TIME: 9:00 a.m.
     ______________________________) CTRM: Hon. Morrison C. England, Jr.
16

17        The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District

19   of California, and William S. Wong, Assistant United States
20   Attorney, and Willliam Bonham, counsel for the defendant Eric

21   Newborn, stipulate and request that the Court continue the status
22   conference/entry of plea in this case from August 21, 2008, to

23   September 4, 2008, at 9:00 a.m.
24        Counsels for the government and the defendant are in good faith

25   negotiations to resolve the case.         Because the defendant is
26   currently serving a state sentence from Kern County, the parties

27   need additional time to verify the case number and the sentence
28   imposed in order to complete the negotiations for the plea

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 1   agreement.
 2        Based upon the foregoing, the parties agree that time under the

 3   Speedy Trial Act be excluded from August 21, 2008, through and
 4   including September 4, 2008, pursuant to 18 U.S.C. §

 5   3161(h)(8)(B)(iv) - reasonable time to prepare and Local Code T-4 -
 6   reasonable time for defense preparation.

 7                                               Respectfully submitted,
 8                                               McGREGOR W. SCOTT
                                                 United States Attorney
 9
10   DATED: August 20, 2008            By:       /s/ William S. Wong
                                                 WILLIAM S. WONG
11                                               Assistant U.S. Attorney
12

13   DATED: August 20, 2008            By:       /s/ William Bonham
                                                 WILLIAM BONHAM, Esq.
14                                               Attorney for Defendant

15                                      ORDER
16        IT IS SO ORDERED.    Good cause having been shown, the status

17   conference/entry of plea set for August 21, 2008 is vacated and a
18   new date is set for September 4, 2008, at 9:00 a.m.          Time is

19   excluded from August 21, 2008, through and including, September 4,
20   2008 for the foregoing reasons.

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     Dated: August 21, 2008
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23                                      _____________________________
                                        MORRISON C. ENGLAND, JR.
24                                      UNITED STATES DISTRICT JUDGE
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